Order                                                                                        Michigan Supreme Court
                                                                                                   Lansing, Michigan

  November 25, 2014                                                                                    Robert P. Young, Jr.,
                                                                                                                 Chief Justice

  148361                                                                                               Michael F. Cavanagh
                                                                                                       Stephen J. Markman
                                                                                                           Mary Beth Kelly
                                                                                                            Brian K. Zahra
                                                                                                    Bridget M. McCormack
  PEOPLE OF THE STATE OF MICHIGAN,                                                                        David F. Viviano,
            Plaintiff-Appellee,                                                                                       Justices

  v                                                                 SC: 148361
                                                                    COA: 318271
                                                                    Wayne CC: 13-002468-FC
  ALTON HUBBARD,
           Defendant-Appellant.

  ____________________________________/

          By order of April 28, 2014, the application for leave to appeal the December 5,
  2013 order of the Court of Appeals was held in abeyance pending the decision in People
  v Cunningham (Docket No. 147437). On order of the Court, the case having been
  decided on June 18, 2014, 496 Mich 145 (2014), the application is again considered and,
  pursuant to MCR 7.302(H)(1), in lieu of granting leave to appeal, we REMAND this case
  to the Court of Appeals for reconsideration of the defendant’s issue regarding the Wayne
  Circuit Court’s assessment of court costs. On remand, the Court of Appeals shall hold
  this case in abeyance pending its decision in People v Konopka (Court of Appeals
  Docket No. 319913). After Konopka is decided, the Court of Appeals shall reconsider
  the defendant’s issue in light of People v Cunningham, 496 Mich 145 (2014), and
  Konopka. It shall then deny or grant the application on this issue, or otherwise exercise
  its authority under MCR 7.216(A)(7). In all other respects, leave to appeal is DENIED,
  because we are not persuaded that the remaining questions presented should be reviewed
  by this Court.




                           I, Larry S. Royster, Clerk of the Michigan Supreme Court, certify that the
                     foregoing is a true and complete copy of the order entered at the direction of the Court.
                           November 25, 2014
           h1117
                                                                               Clerk
